Case 1:20-cv-18533-KMW-SAK Document 3 Filed 12/09/20 Page 1 of 2 PageID: 49

                     UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY


   NATALIE CAMPAGNA, ET AL.,
   Plaintiff

                              V.                    SUMMONS IN A CIVIL CASE
   TD BANK, N.A.,
   Defendant
                                                    CASE
                                                    NUMBER: 1:20−CV−18533−JHR−AMD


      TO: (Name and address of Defendant):




      A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received it)
   −− or 60 days if you are the United States or a United States Agency, or an office or employee of
   the United States described in Fed. R. civ. P. 12 (a)(2) or (3) −− you must serve on the plaintiff
   an answer to the attached complaint or a motion under rule 12 of the Federal Rules of Civil
   Procedure. The answer or motion must be served on the plaintiff or plaintiff`s attorney, whose
   name and address are:




      If you fail to respond, judgment by default will be entered against you for the relief
   demanded in the complaint. You also must file your answer or motion with the court.




    s/ WILLIAM T. WALSH
   CLERK




                                                                ISSUED ON 2020−12−09 11:30:20, Clerk
                                                                           USDC NJD
Case 1:20-cv-18533-KMW-SAK Document 3 Filed 12/09/20 Page 2 of 2 PageID: 50

                                                   RETURN OF SERVICE
 Service of the Summons and complaint was made by DATE
 me(1)
 NAME OF SERVER (PRINT)                           TITLE

 Check one box below to indicate appropriate method of service



           Served personally upon the defendant. Place where served: _______________________________________
           ________________________________________________________________________
           Left copies thereof at the defendant's dwelling house or usual place of abode with a person of suitable age
           and
           discretion then residing therein.

           Name of person with whom the summons and complaint were left:__________________________________

           Returned unexecuted:_____________________________________________________________________
           _________________________________________________________________________
           ________________________________________________________________________
           Other (specify) :_________________________________________________________________________
           ________________________________________________________________________
           ________________________________________________________________________


                                              STATEMENT OF SERVICE FEES
 TRAVEL                               SERVICES                                        TOTAL

                                                DECLARATION OF SERVER

             I declare under penalty of perjury under the laws of the United States of America that the foregoing
          information
          contained in the Return of Service and Statement of Service Fees is true and correct.


         Executed on       ___________________                _______________________________________
                                       Date                   Signature of Server

                                                              _______________________________________
                                                              Address of Server
